 4:10-cr-03052-SMB-JMD             Doc # 40    Filed: 01/24/11   Page 1 of 1 - Page ID # 92




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  4:10CR3052
                      Plaintiff,               )
                                               )
              v.                               )
                                               )       MEMORANDUM AND ORDER
MY TAN CAO,                                    )
                                               )
                      Defendants.              )

       Pursuant to Rule 17 of the Federal Rules of Criminal Procedure, defendant requests
issuance of a subpoena for the attendance of trial witness(es). Defendant’s application states
the witness’ testimony is necessary for an adequate defense, but the defendant is unable to
pay the service and witness fees.

       Accordingly,

       IT IS ORDERED:

       1)     The clerk shall issue the subpoenas as set forth in the court’s text order, (filing
              no. 39).

       2)     Upon receipt of the subpoenas, the United States Marshal shall serve the
              subpoenas, with the process costs and witness fees to be paid in the same
              manner as those paid for witnesses subpoenaed by the government.

       DATED this 24th day of January, 2011.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
